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                                       UNITED​ ​STATES​ ​DISTRICT​ ​COURT
                                     ​ ​SOUTHERN​ ​DISTRICT​ ​OF​ ​FLORIDA

                                           CASE​ ​NO.:​ ​17-cv-22747-MGC

  ANDRES​ ​GOMEZ,​ ​on​ ​his​ ​own​ ​and​ ​on​ ​behalf
  of​ ​all​ ​other​ ​individuals​ ​similarly​ ​situated,

           Plaintiff,

  vs.

  GENERAL​ ​NUTRITION​ ​CORPORATION,

        Defendant.
  ______________________________________/

                 PLAINTIFF’S​ ​REQUEST​ ​FOR​ ​JUDICIAL​ ​NOTICE​ ​IN​ ​SUPPORT​ ​OF
                      PLAINTIFF’S​ ​MOTION​ ​FOR​ ​SUMMARY​ ​JUDGMENT

  TO​ ​THE​ ​COURT,​ ​ALL​ ​PARTIES​ ​AND​ ​TO​ ​THEIR​ ​ATTORNEYS​ ​OF​ ​RECORD:

           PLEASE TAKE NOTICE Plaintiff Andres Gomez (“Plaintiff”) request this Court to take

  judicial notice of the following matters or materials set forth below, pursuant to Federal Rules of

  Evidence,​ ​Rule​ ​201,​ ​in​ ​support​ ​of​ ​Plaintiff’s​ ​Motion​ ​for​ ​Summary​ ​Judgment.

           Under Fed. R. Evid., Rule 201(d), judicial notice is mandatory “if requested by a party

  and [the court is] supplied with the necessary information.” Fed. R. Evid., Rule 201(b) further

  provides that “[a] judicially noticed fact must be one not subject to reasonable dispute in that it is

  either (1) generally known within the territorial jurisdiction of the trial court or (2) capable of

  accurate and ready determination by resort to sources whose accuracy cannot reasonably be

  questioned.”

           Accordingly, a court may take judicial notice of matters of public record. The Court may

  therefore​ ​take​ ​judicial​ ​notice​ ​of​ ​the​ ​recorded​ ​documents​ ​attached​ ​as​ ​follows:
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     1. Attached hereto as Exhibit 1 is a true and correct copy of the court’s verdict and order in

        Gorecki v. Hobby Lobby Stores, Inc. ​Case No. 2:17-cv-01131-JFW-SK (C.D. Cal. 2017)

        (June​ ​15,​ ​2017)​ ​(ECF​ ​#47).

     2. Attached hereto as Exhibit 2 is a true and correct copy of the court’s order in ​Juan Carlos

        Gil v. Winn-Dixie Stores, Inc., ​Civil Action No. 16-23020-Civ-Scola (S.D. FL, June 13,

        2017)​ ​(ECF​ ​#63).

     3. Attached hereto as Exhibit 3 is a true and correct copy of the court’s order in ​Andrews v.

        Blick Art Materials, LLC, Civil Action No. 1:17-cv-00767-JBW-RLM, 2017 WL

        3278898,​ ​at​ ​*17-18​ ​(E.D.N.Y​ ​2017)​ ​(ECF#25).

     4. Attached hereto as Exhibit 4 is a true and correct copy of the Joint Pretrial Stipulation in

        Juan Carlos Gil v. Winn-Dixie Stores, Inc., ​Civil Action No. 16-23020-Civ-Scola, Joint

        Pretrial​ ​Stip.​ ​of​ ​3/17/17​ ​at​ ​3;​ ​ECF​ ​#34.).

     5. Attached hereto as Exhibit 5 is a true and correct copy of the defendant’s Proposed

        Findings of Fact and Conclusions of Law in ​Juan Carlos Gil v. Winn-Dixie Stores, Inc.,

        Civil​ ​Action​ ​No.​ ​16-23020-Civ-Scola​ ​Def.’s​ ​Prop.​ ​FF/CL​ ​at​ ​7;​ ​ECF​ ​#39.).

     6. Attached hereto as Exhibit 6 is a true and correct copy of the defendant’s Answer in ​Juan

        Carlos Gil v. Winn-Dixie Stores, Inc., ​Civil Action No. 16-23020-Civ-Scola (Answer at

        8;​ ​ECF​ ​#7.).
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      7. Attached hereto as Exhibit 7 is a true and correct copy of the defendant’s Motion for

           Judgement on the Pleadings in ​Juan Carlos Gil v. Winn-Dixie Stores, Inc., ​Civil Action

           No.​ ​16-23020-Civ-Scola​ ​(MJOP​ ​at​ ​3;​ ​ECF​ ​#15.).

      8. Attached hereto as Exhibit 8 is a true and correct copy of the defendant’s Reply In

           Support of Motion for Judgement on the Pleadings in ​Juan Carlos Gil v. Winn-Dixie

           Stores,​ ​Inc.,​ ​Civil​ ​Action​ ​No.​ ​16-23020-Civ-Scola​ ​(Reply​ ​ISO​ ​MJOP​ ​at​ ​6-7;​ ​ECF​ ​#19.).

      9. Attached hereto as Exhibit 9 is a true and correct copy of the Statement of Interest of the

           United States of America in ​Juan Carlos Gil v. Winn-Dixie Stores, Inc.​, Civil Action No.

           16-23020​ ​(S.D.​ ​Fla.)​ ​(ECF​ ​#23)​ ​at​ ​5.

      10. Attached hereto as Exhibit 10 is a true and correct copy of the Consent Decree in ​Nat’l Fed.

           of the Blind, et al. United States of America v. HRB Digital LLC and HRB Tax Group, Inc.,

           No.​ ​1:13-cv-10799-GAO​ ​(entered​ ​March​ ​25,​ ​2014).

      11. Attached hereto as Exhibit 11 is a true and correct copy of Current Unified Agenda of

           Regulatory​ ​and​ ​Deregulatory​ ​Actions​ ​on​ ​July​ ​20,​ ​2017​ ​pg.​ ​8.

  Dated:​ ​January​ ​5,​ ​2018.

                                                                   Respectfully​ ​submitted,

                                                                   The​ ​Advocacy​ ​Group
                                                                   Counsel​ ​for​ ​Plaintiff
                                                                   333​ ​Las​ ​Olas​ ​Way,​ ​CU3​ ​Suite​ ​311
                                                                   Fort​ ​Lauderdale,​ ​Florida​ ​33301
                                                                   Phone:​ ​(954)​ ​282-1858
                                                                   Email:​ ​service@advocacypa.com

                                                                   /s/​ ​Jessica​ ​L.​ ​Kerr______
                                                                   JESSICA​ ​L.​ ​KERR,​ ​ESQ.
                                                                   Fla.​ ​Bar​ ​No.​ ​92810
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                                      CERTIFICATE​ ​OF​ ​SERVICE

          I HEREBY CERTIFY that on January 5, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record in this action via transmission of Notices of

  Electronic​ ​Filing​ ​generated​ ​by​ ​CM/ECF.

                                                      /s/​ ​Jessica​ ​L.​ ​Kerr______
                                                      JESSICA​ ​L.​ ​KERR,​ ​ESQ.
                                                      Fla.​ ​Bar​ ​No.​ ​92810
